










COURT OF APPEALS
EIGHTH DISTRICT OF TEXAS
EL PASO, TEXAS





NATHANIEL MAYBERRY,

&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;Appellant,

v.


THE STATE OF TEXAS,

&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;Appellee.

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No. 08-10-00077-CR

Appeal from the

112th Judicial District Court

of Crockett County, Texas 

(TC# 2439) 





MEMORANDUM  OPINION

&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;Pending before the Court is Appellant’s motion to withdraw his notice of appeal pursuant
to Tex.R.App.P. 42.2(a).  Appellant has personally signed his request and has filed it prior to the
appellate court’s decision.  See Tex.R.App.P. 42.2(a).  Further, a duplicate copy has been filed
with this Court and has been forwarded to the trial court clerk.  See id.  As the motion complies
with the requirements of Rule 42.2(a), we GRANT Appellant’s motion and dismiss the appeal.



August 18, 2010
DAVID WELLINGTON CHEW, Chief Justice

Before Chew, C.J., McClure, and Rivera, JJ.

(Do Not Publish)


